                      Case 2:07-cr-00061-MHT-WC Document 215 Filed 12/11/07 Page 1 of 6
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                                              UNITED STATES DIsTRIcT COURT
                           MIDDLE                                     District of                                ALABAMA
           LNI'FED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                V.

                                                                              Case Number                      2:07cr61 -005-MI IT
          BANKOLE BABJIDE BALOGIJN
                                                                                                                    (WO)

                                                                              USM Number                        12173 -002

                                                                              Michael 'V. Rasmussen
                                                                              Defendant's Attorney
THE DEFENDANT:
   pleaded guilty to count(s)
LI pleaded nob contendere to count(s)
   which was accepted by the court.
X was found guilty on count(s)            Is and 3s of the Superseding Indictment on September 21, 2007
  after a plea of not guilty.

l'he defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                         Offense Ended              Count
18 USC 1349                          Conspiracy to Commit Bank Fraud, Wire and Mail Fraud                      8/1/2005                     Is
I8USC 1344 and .2                    Bank Fraud                                                                2/24/2006                    3s




       The defendant is sentenced as provided ni pages 2 through                      6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X The defendant has been found not guilty on count(s)                5s of the Superseding Indictment
X Count(s) Two of the Indictment                              X is    [11 are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             December 3, 2007
                                                                             Date of Imposition of Judgment




                                                                             Sig7iature of Judge




                                                                             MYRON H. THOMPSON. u.S. DISTRICT JUDGE
                                                                             Name and Title of Judge




                                                                             Date I
                       Case 2:07-cr-00061-MHT-WC Document 215 Filed 12/11/07 Page 2 of 6
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[)EFENDANT:                           BAN KOLE BABJ IDE BALOGUN
CASE NUMBER:                          2:07cr61-005-MHT


                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


10 Months. The term consists of 10 months on Count Is and 10 months on Count 3s, all such terms to run concurrently.



         The court makes the following recommendations to the Bureau of Prisons:




     XThe defendant is remanded to the custody of the United States Marshal.

     LiThe defendant shall surrender to the United States Marshal for this district:

         LI at                                        LI am.     LI p.m. on -

         LI as notified by the United States Marshal.

     LiThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         LI before 2 p.m. on

         LI as notified by the United States Marshal.

         LI as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                            to

at                                                      with a certified copy of this judgment.




                                                                                                     UNITLI) STATES MARSHAl.



                                                                            By
                                                                                                  DEPUTY (JNITEI) STATES MARSHAL
                                   Case 2:07-cr-00061-MHT-WC Document 215 Filed 12/11/07 Page 3 of 6
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 DEFENDANT:                                BANKOLE BABJII)E BALOGUN
 CASE NUMBER:                              2:07cr61-005-MHT
                                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall he on supervised release for a term of:


 5 Years. This term consists of 5 years on Count ls and 5 years on Count 3s, all such terms to run concurrently.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
 Ihe defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)

x The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

            The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
            student, as directed by the probation officer. (Check, if applicable.)

            The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                                       STANDARD CONDITIONS OF SUPERVISION
      1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
      3)         the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)             the defendant shall support his or her dependents and meet other family responsibilities;
      5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                 acceptable reasons;
      6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
                 controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)             the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
                 felony, unless granted permission to do so by the probation officer;
 10)             the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
                 contraband observed in plain view of the probation officer:
 11)             the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)         the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
 13)             as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
                 record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
                 defendant's compliance with such notification requirement
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                      Case 2:07-cr-00061-MHT-WC Document 215 Filed 12/11/07 Page 4 of 6
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DEFENDANT:                   13ANKOLF BABJIDE BALOGUN
CASE NUMBER:                 2:07cr6 I -005-MHT

                                                SPECIAL CONDITIONS OF SUPERVISION
I. The defendant shall provide the probation officer any requested financial information.
2. The defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
3. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
court.

4. In light of the defendants illegal status, upon completion of the term of imprisonment, the defendant shall be remanded to
the custody of the Bureau of Immigration and Customs Enforcement for deportation proceedings in accordance with the
Immigration and Nationality Act. If deported, (a) the term of supervision shall be non-reporting while he lives outside the
United States; (b) the defendant shall not illegally reenter the United States; and ( c) if the defendant should reenter the
United States during the term of supervised release, he shall report to the nearest United States Probation Office within 72
hours of arrival.
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 DEFENDANT:                        EANKOL F BABJ IDE BALOGt 'N
 CASE NUMFER:                      2:07cr61-005-MHT
                                              CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                         Fine                                  Restitution
 TOTALS             $ 200                                             $                                       S L833.20


       The determination of restitution is deferred until             An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

 X The defendant must make restitution (including community restitution) to the following payces in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3 664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                Total Loss*                           Restitution Ordered                   Priority or Percentage
 Gap Inc. Direct                                                                         $1,833.20
 Loss Prevention Department
 do Matt Walbright
 Loss Prevention Investigator
 5900 North Meadows Dr.
 Grove City, 01-1 43123




TOTALS                              $                          0             $                       1833.2


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

  J The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            the interest requirement is waived for the         fine              restitution.

       LII the interest requirement for the        LI fine   LI restitution is modified as follows:



* Fiiidiriis for the total amount oflosses arc required under Chapters IOOA. 110. I IOA. and 1 13A ofTitle 18 for offenses committed on or after
Scptcmhcr I 3. 1994, bLit before April 23, 1996.
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DEFENI)AN1:                       BANKOLE BABJIDE BALO(IiLN
CASE NUMBER:                      2:07cr61-005-MHT


                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A      X Lump sum payment of S 2,033.20                       due immediately, balance due

                     notlater than _________________________ . or
                     in accordance          C,      D,          E, or             F below: or

B X Payment to begin immediately (may be combined with                       C,           D, or x F below); or

C      L] Payment in equal ______________ (e.g., weekly. monthly, quarterly) installments of S ______________ over a period of
           ____________ (e.g., months or years), to commence __________ (e.g.. 30 or 60 days) after the date of this judgment; or

 D          Payment in equal _______________ (e.g., weekly, monthly, quarterly) installments of $ _______________ over a period of
           ____________ (e.g.. months or years), to commence ___________            or 60 days) after release from imprisonment to a
            term of supervision; or

 E          Payment during the term of supervised release will commence within _____________ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     X Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary penalty payments shall be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery. Alabama 36101. Any balance remaining at the start of supervision shall be paid at the rate not less
            than of $250.00 per month.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 LI Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 LI The defendant shall pay the cost of prosecution.

 El The defendant shall pay the following court cost(s):

 El The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment. (2) restitution principal, (3) restitution interest. (4) fine principal,
 () fine interest. (6) community restitution. (7) penalties. and (8) cosls. including cost of prosecution and court costs.
